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      In The United States Court of Federal Claims
                                          No. 00-705C

                                     (Filed: April 17, 2009)
                                           __________
 THE BOEING COMPANY,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                            _________

                                            ORDER
                                           __________


        Based on the opinion and order filed in this case on April 2, 2009, and pursuant to the
parties’ joint proposed judgment, filed on April 17, 2009, the Clerk is hereby directed to enter
judgment for plaintiff in this case in the amount of $28,338,478.03, plus $2,540.67 in interest for
each day after April 17, 2009, until such judgment is paid. Costs to plaintiff. Nothing herein
shall be construed as waiving either party’s appeal rights.

       IT IS SO ORDERED.



                                                                s/ Francis M. Allegra
                                                                Francis M. Allegra
                                                                Judge
